           Case 1:06-cr-00419-LJO-BAM Document 166 Filed 07/24/08 Page 1 of 2


 1   ROBERT L. FORKNER (CSB# 166097)
     Law Offices of Robert L. Forkner
 2   722 Thirteenth Street
     Modesto, California 95354
 3   Telephone: (209) 544-0200
     Fax:        (209) 544-1860
 4
 5   Attorney for Defendant
     CHRISTOPHER PITTS
 6
 7
 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,           )       CASE NO. 1:06-cr-419 LJO
11                                       )
                Plaintiffs,              )   STIPULATION AND ORDER
12                                       )   TO EXTEND THE SURRENDER DATE
     vs.                                 )   FOR DEFENDANT CHRISTOPHER
13                                       )   PITTS.
                                         )
14   CHRISTOPHER PITTS,                  )
                                         )
15              Defendants.              )
                                         )
16
           IT   IS HEREBY STIPULATED by and between defendant
17
     CHRISTOPHER PITTS, through his attorney ROBERT L. FORKNER and
18
     plaintiff United States of America, through its counsel of
19
     record, Assistant United States Attorney KATHLEEN A. SERVATIUS,
20
     stipulate and request the following:
21
           1.    The presently scheduled surrender date of July 29, 2008
22
     be vacated for the above named defendant and be continued to
23
     August 12, 2008 at 2:00 p.m.
24
           2.    The reason for the requested extension of the surrender
25
     date is that Ms. Susan Perry from the United States Marshall’s
26
     Office has notified all parties that the Bureau of Prisons has
27
28                                           1
          Case 1:06-cr-00419-LJO-BAM Document 166 Filed 07/24/08 Page 2 of 2


 1   “no designation” for Mr. Pitts.          It will take a minimum of two
 2   weeks to designate a prison.
 3            Furthermore, United States Probation Officer, Jack C.
 4   Roberson and Pretrial Services Officer, Lydia Serrano have been
 5   notified and have no objections.          Therefore, the parties
 6   stipulate to continue the defendant’s surrender date and request
 7   the court to order the same.
 8
 9   Dated: July 23, 2008                            /s/ Robert L. Forkner
10                                                   Attorney for Defendant,
                                                     ROBERT L. FORKNER
11
12   Dated: July 23, 2008                            /s/ Kathleen A. Servatius
13                                                   Assistant U.S. Attorney
                                                     KATHLEEN A. SERVATIUS
14
15
16
                                        ORDER
17
              There exists good cause in the stipulation of all parties
18
     that the July 29. 2008 surrender date be extended to August 12,
19
     2008 at 2:00 p.m., for the defendant CHRISTOPHER PITTS.
20
21   IT IS SO ORDERED.
22   Dated:     July 24, 2008              /s/ Lawrence J. O'Neill
     b9ed48                            UNITED STATES DISTRICT JUDGE
23
24
25
26
27
28                                        2
